 

 

Case 6:20-bk-03355-KSJ Doc 466 Filed 10/29/21 Page 1 of 30

QUARTERLY OPERATING REPORT -

ATTACHMENT NO. 1
POST CONFIRMATION

 

Case Name: Marina Towers, LLC.

 

Case Number: 6:20-bk-3359-KSJ

 

 

Date of Plan Confirmation: February 21, 2021

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

QUESTIONNAIRE
YES* NO
1 Have any assets been sold or transferred outside the normal course of business, or outside
the Plan of Reorganization during this reporting period? xX
2 Are any post-confirmation sales or payroll taxes past due? x
3. Are any amounts owed to post-confirmation creditors/vendots over 90 days delinquent?
xX
4 Is the Debtor current on al! post-confirmation plan payments? x
*If the answer to any of the above questions is "YES," provide a detailed explanation of each item on a separate sheet.
INSURANCE INFORMATION
YES NO*
1. Are real and personal property, vehicle/auto, general liability, fire, theft, worker's
compensation, and other necessary insurance coverages in effect? xX
2 Are all premium payments current? x
*If the answer to any of the above questions is "NO," provide a detailed explanation of each item on a separate sheet.
CONFIRMATION OF INSURANCE
Payment Amount Delinquency
TYPE of POLICY and CARRIER Period of Coverage and Frequency Amount
Property - Mt Hawley Insurance Company 06/01/21 to 05/31/22 5,590.70 Monthly None
Liability - Westfield Liability Insurance 06/01/21 to 05/31/22 570.33 Monthly None
Umbrella - Westfield Liability Insurance 06/01/21 to 05/31/22 Included with Liability None

 

 

 

 

 

 

 

DESCRIBE PERTINENT DEVELOPMENTS, EVENTS, AND MATTERS DURING THIS REPORTING PERIOD:

On Febmary 23, 2021, the Bankruptcy Court entered an Order Confinning Debtors’ Amended Juint Plan of Reorganization, On April 21, 2021 4
status hearing was held setting July 2, 2021 as the deadline for claim objections. On March 1, 2021, in the case of Maz Partners LP, individually
and on behalf of all other similarly situated, vs. First Choice Healthcare Solutions, Inc. and Christian Romandetti, St., Case No. 6:19-cv-00619-
PGB-LRH pending in the U.S. District Court, Middle District of Florida, Orlando Division, an Order Preliminary Approving Class Action
Setilement, Preliminary Certifying Settlement Class, and Directing Notice to Settlement Class was entered. The District Court set a hearing
regarding final approval of the settlement for July 26, 202 at 10:00 a.m. at the United States District Court for the Middle District of Florida,
Orlando Division, 401 West Central Boulevard, Orlando, Florida 32801,

Estimated Date of Filing the Application for Final Decree: Summer/Early Fall 2021

 

 

I declare under penalty of perjury that this statement and the accompanying
documents and reports are true and correct to the best of my knowledge and
belief.

  

This 21st. dayof___ October 2021 .
Lance Friedman, CEO
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Marina Towers, LLC.
Case 6:20-bk-3359
For Period Ending September 30, 2021

Attachment No. 1

Questionnaire 3. All undisputed bills paid on a timely basis. We have been working with GMR, our
landlord on a lease modification and amendment, we have deferred part of the YTD 2021 rent payments
during the negotiations.
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QUARTERLY OPERATING REPORT - ATTACHMENT NO. 2
POST CONFIRMATION

CHAPTER 11 POST-CONFIRMATION
SCHEDULE OF RECEIPTS AND DISBURSEMENTS

 

Case Name: Marina Towers, LLC.

 

Case Number: 6:20-bk-3359-KSJ

 

 

 

Date of Plan Confirmation: February 21, 2021

 

All items must be answered. Any which do not apply should be answered “none” or “N/A”.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

07/01/21 - 09/30/21 02/22/21 - 09/30/21
Quarterly Post Confirmation Total
1. CASH (Beginning of Period) $ 16,372.55 |$ 601.07
2. INCOME or RECEIPTS during the Period |$ 583,751.40 [$ 749,012.84
3. DISBURSEMENTS
a. Operating Expenses (Fees/Taxes):
(i) U.S. Trustee Quarterly Fees $ None $ None
(ii) Federal Taxes None None
(iii State Taxes None None
(iv Other Taxes None None
b. All Other Operating Expenses: $ 254,335.46 1$ 403,825.42
Cc. Plan Payments:
(i) Administrative Claims $ 322,442.37 |$ 322,442.37
(ii) Class One None None
(iii Class Two None None
(iv Class Three 534.04 534.04
(v) Class Four None None
(vi Class Five None None
(vi Class Six None None
(vi Class Seven None None
Total Disbursements (Operating & Plan) $ 577,311.87 |$ 726,801.83

 

 

 

 

 

1. CASH (End of Period) I$ 22,812.08 |$ 22,812.08

 
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QUARTERLY OPERATING REPORT -

ATTACHMENT NO. 3
POST CONFIRMATION

 

Case Name: Marina Towers, LLC.

 

Case Number: 6:20-bk-3359-KSJ

 

 

 

Date of Plan Confirmation: February 21, 2021

 

CHAPTER 11 POST-CONFIRMATION
BANK ACCOUNT RECONCILIATIONS

Prepare Reconcilation for each Month of the Quarter

Bank Account Information

Name of Bank:
Account Number:
of Account ra roll/Tax

T of Account ch

1. Balance per Bank Statement
2. ADD: Deposits not credited
3. SUBTRACT: Outstanding Checks

4. Other Reconciling Items

5. Month End Balance (Must Agree with Books)

For 07/31/21
Account
#1
TD Bank
XXX-XXX9133
ra

Ch

16,492.40

(6,161.03

10,331.37

Account
#2

 

Note: Attach copy of each bank statement and bank reconciliation.

Account Account
#3 #4

 

Investment Account Information

Bank / Account Name / Number

Date of
Purchase

Type of
Instrument

Current
Value

Purchase
Price

 

None

 

 

 

 

 

 

 

 

 

 

 

 

 

Note: Attach copy of each investment account statement.
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QUARTERLY OPERATING REPORT - ATTACHMENT NO. 3
POST CONFIRMATION

 

Case Name: Marina Towers, LLC.

 

Case Number: 6:20-bk-3359-KSJ

 

 

 

Date of Plan Confirmation: February 21, 2021

 

CHAPTER 11 POST-CONFIRMATION
BANK ACCOUNT RECONCILIATIONS

Prepare Reconcilation for each Month of the Quarter

 

 

 

 

 

 

 

 

 

 

 

For 08/31/21

Bank Account Information
Account Account Account Account
#1 #2 #3 #4

Name of Bank: TD Bank
Account Number: XXX-XXX9133
Purpose of Account (Operating/Payroll/Tax) Operating
Type of Account (e.g. checking) Checking
1. Balance per Bank Statement 19,609.33
2. ADD: Deposits not credited :
3. SUBTRACT: Outstanding Checks (13,330.71)
4, Other Reconciling Items -
5. Month End Balance (Must Agree with Books) 6,278.62

 

 

 

 

 

 

Note: Attach copy of each bank statement and bank reconciliation.

 

Investment Account Information
Date of Type of Purchase Current
Bank / Account Name / Number Purchase Instrument Price Value

 

None

 

 

 

 

 

 

 

 

 

 

 

 

 

Note: Attach copy of each investment account statement.
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QUARTERLY OPERATING REPORT - ATTACHMENT NO. 3
POST CONFIRMATION

 

Case Name: Marina Towers, LLC.

 

Case Number: 6:20-bk-3359-KSJ

 

 

Date of Plan Confirmation: February 21, 2021

 

 

CHAPTER 11 POST-CONFIRMATION
BANK ACCOUNT RECONCILIATIONS

Prepare Reconcilation for each Month of the Quarter

 

 

 

 

 

 

 

 

 

 

 

For 09/30/21

Bank Account Information
Account Account Account Account
#1 #2 #3 #4

Name of Bank: TD Bank
Account Number: XXX-XXX9133
Purpose of Account (Operating/Payroll/Tax) Operating
Type of Account (e.g. checking) Checking
1. Balance per Bank Statement 41,436.48
2, ADD: Deposits not credited -
3. SUBTRACT: Outstanding Checks (18,624.40)
4. Other Reconciling Items -
5. Month End Balance (Must Agree with Books) 22,812.08

 

 

 

 

 

 

Note: Attach copy of each bank statement and bank reconciliation.

 

Investment Account Information

Date of Type of Purchase Current
Bank / Account Name / Number Purchase Instrument Price Value

 

None

 

 

 

 

 

 

 

 

 

 

 

 

 

Note: Attach copy of each investment account statement.
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QUARTERLY OPERATING REPORT - ATTACHMENT NO. 4
POST CONFIRMATION

 

Case Name: Marina Towers, LLC.

 

Case Number: 6:20-bk-3359-KSJ

 

 

 

Date of Plan Confirmation: February 21, 2021

 

CHAPTER 11 POST-CONFIRMATION
CASH/DEBIT/CHECK DISBURSEMENTS DETAILS

Name of Bank TD Bank
Number XXX-XXX9133
Pu of Account
of Account (e Ch

Number Transaction Amount
re
70721 07/07, .
07/09/21 Melbourne, LLC. 632.
7/15/21 | NAL
07/15/21 nc.
07/15/21} Plan It Lawn and .
07/15/21 |Waste Ma - Melbourne 402.64
1521a 07/15/21|FPL - Florida Power & 54
FPLO71521b 07/15/2 - Power 902.
4043 07/23/2 Melbourne - Utilities 1,374.
4044 07. rne . 5,335.84
4045 07/23/21 of
4046 07/23/21|Eau Gallie Ace Hardware .
07/23/21] Johnson Controls 1.179.0
07/23/21 020.00
07/29/21 | IPF 5,590.
07/29/21|Westfield Insurance 570.33
T 5,000.
08/06/21 | First Healthcare Transfer 5,000.
1|CR of Melbourne, LLC. 3,718.48
- Power
- Power 4 i
08/23/21 of Melbourne - Utilities 1,425.
5,590.70
08/23/21|Plan It Lawn and .
08/23/21|Waste - Melbourne Hau 46
08/23/21 Insurance 570.
08/23/21|NALCO .
of Melbourne - Revenue 150.
1/21|Home owers .
1 n Build ‘46
08/31/21 z 4,088.11
08/31/21| Johnson Controls 1,1
Inc. 4 4
09/01/21 R Melbourne, LLC, 442.
09/01/21 R rne . 16,042
721 09/07/21|GMR Melbourne ‘ 100,000.00
1 09/07/21|TD Bank :
FPLO91421a 09/14/21|FPL - Florida Power 12,013
FPLO91421b 09/14/21|FPL - Florida Power
09/15/21|CR of Melbourne, LLC. 362.48
09/15/21|Eau Ace 166.
09/15/21| Johnson Controls 1,179.
09/15/21 Service, Inc. .
09/15/21|Plan It Lawn and .00
aste - Melbourne

 

5/21
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QUARTERLY OPERATING REPORT -
POST CONFIRMATION

ATTACHMENT NO. 4

4

521
1521

5/21 R Melbourne
09/15/21|TD Bank
4 of Melbourne -
1/CR of Melbourne,
1}IPFS

09/24/21
09/30/21|Kone, Inc.

Insurance

.00

060.
846.06

5 .
570.33

4,473
09/30/21 Air Cond .

577,311.

 

If any checks written this period have not been delivered to the payee, provide details, including the payee, amount, explanation for
holding check and anticipated delivery date of check.

None

 
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2m

      

1D Bank

America’s Most Convenient Bank® E STATEMENT OF ACCOUNT
MARINA TOWERS LLC Page: 1 of 5
DIP CASE 20-03359 MFLO Statement Period: Jul 01 2021-Jul 31 2021
709 SOUTH HARBOR CITY BLVD SUITE 530 Cust Ref #: sn
MELBOURNE FL 32901 Primary Account #: GD: 133

Overdraft Policy Change Effective August 6, 2024

The following change applies only to Commercial and Small Business Checking Accounts and Money Market Accounts with
check access: TD is making changes to reduce Customer overdraft fees: Instead of charging an overdraft fee if you overdraw
your account by greater than $5, you may now overdraw your account by up to $10 without TD charging you an overdraft fee.

Overdraft fees apply to a maximum of five (5) items per day per account and this will remain unchanged. For Business Checking
accounts on Account Analysis Billing, all overdrafts, regardless of volume, are billed through Account Analysis. Please contact
your Treasury Management Officer for further details.

Chapter 11 Checking > 974)

 

 

rie -

MARINA TOWERS LLC GE hea 0 Account # GiB 9133
DIP CASE 20-03359 MFLO REC iy}
ACCOUNT SUMMARY
Beginning Balance 24,128.32 Average Collected Balance 7,522.82
Deposits 23,335.96 Interest Earned This Period 0.00
Electronic Deposits 28,500.00 Interest Paid Year-to-Date 0.00

Annual Percentage Yield Earned 0.00%
Checks Paid 25,990.88 Days in Period 31
Electronic Payments 33,481.00
Ending Balance 16,492.40 a ~1\

\oo

DAILY ACCOUNT ACTIVITY

 

 

 

Deposits
POSTING DATE DESCRIPTION AMOUNT
07/01 DEPOSIT 7,243.52
07/26 DEPOSIT 16,092.44
Subtotal: 23,335.96
Electronic Deposits
POSTING DATE DESCRIPTION AMOUNT
07/08 eTransfer Credit, Online Xfer 7,000.00
Transfer from CK 4369008854
07/15 eTransfer Credit, Online Xfer 11,000.00
Transfer from CK 4369008854
07/22 eTransfer Credit, Online Xfer 10,500.00
Transfer from CK 4369008854
Subtotal: 28,500.00
Checks Paid No, Checks: 14 “Indicates break in serial sequence or check processed electronically and listed under Electronic Payments
DATE SERIAL NO. AMOUNT DATE SERIAL NO. AMOUNT
07/01 4034 1,030.37 07/09 4038 6,632.88
07/02 4036* 5,590.70 07/21 4039 388,96
07/06 4037 1,134.70 07/19 4040 225.00

Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com

Rank Deposits FDIC Insured | TD Bank, N.A, | Equal Housing Lender vet

 
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How to Balance your Account

Page 10 of 30

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Page: 2 of 5
Begin by adjusting your account register 4 Your ending balance shown on this @
as follows: jas ;
Statement Is; Ending 46,492.40
Subtract any services charges shown . . Balance. Ete
on this statement. 2. List below the amount of deposits or
: credit transfers which do not appear =
Subtract any eomene arn on this statement. Total the deposits Total +
transfers or ot er electronic with- and enter on Line 2. Deposits
drawals not previously recorded. .
Add any interest earned if you have 4. Subtotal by adding lines 1 and 2. e.
an interest-bearing account.
: . 4. List below the total amount of Sub Total ©
Add any automatic deposit or . rasa
overdraft line of credit withdrawals that do not appear on 8
this statement. Total the withdrawals
Review all withdrawals shown on this and enter on Line 4. Total Z
statement and check them offin your Withdrawals . 00 .
account register, 5. Subtract Line 4 from 3. This adjusted
Follow instructions 2-5 to verify your balance should equal your account
ending account balance. balance. G Adjusted
Balance accesses
@ @
DEPOSITS NOT DOLLARS CENTS WITHDRAWALS NOT] BOLLARS. CENTS WITHDRAWALS NOT] DOLLARS CENTS
ON STATEMENT ON STATEMENT ON STATEMENT
Oe __. a Total
Total Deposits Withdrawals &

 

 

 

 

 

 

 

 

 

FOR CONSUMER ACCOUNTS ONLY — IN GASE OF ERRORS OR
QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:

If you need information about an electronic fund transfer or if you believe there is an
error on your bank statement or receipt relating to an electronic fund lransfer,
lelephone the bank immediately at he phone number listed on the front of your
statement or write to:

TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewlston,
Maine 04243-1377

We must hear from you no later than sixly (60) calendar days after we sent you the
first statement upon which the error or problem first appeared, When contacting the
Bank, please explain as clearly as you can why you believe there is an error or why
more informalion Is needed. Please include:

* Your name and account number,

* Adescription of the error or iransaction you are unsure about.

* The dollar amount and dale of the suspected error.
When making a verbal inquiry, the Bank may ask that you send us your complaint in
wriling within ten (10) business days afler the first telephone call.

We will investigate your complaint and will correct any error promplly. If we lake more
than ten (10) business days to do this, we will credit your account for the

amount you think is in error, so [hal you have the use of the money during the time it
takes to complete our investigation.

INTEREST NOTICE

Total inlerest credited by (he Bank to you this year will be reported by the Bank to the
Internal Revenue Service and State tax authorities, The amount to be reported will be
reporled separately to you by the Bank.

FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
SUMMARY

In case of Errors or Questions About Your Bill:

If you think your bill is wrong, or if you need more informalion about a transaction on
your bill, write us at P.O. Box 1377, Lewislon, Maine 04243-1377 as soon as
possible. We must hear from you no later than sixly (60) days afler we sent you (he
FIRST bill on which the error or problem appeared. You can telephone us, but doing
so wilt nol preserve your righls. In your lelter, give us the following information:

« Your name and account number.

* The dollar amount of the suspected error,

* Describe the error and explain, if you can, why you believe there is an error.

If you need more informalion, describe the item you are unsure about

You do nol have to pay any amount in question while we are investigating, but you
are slill obligated to pay the parts of your bill that are not in question. While we
investigate your question, we cannot report you as delinquent or lake any action to
collect the amount you question.

FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
(he finance charge on your Moneyline/Overdraft Protection accounl (the term "ODP"
or "OD" refers lo Overdraft Protection), the Bank discloses the Average Daily Balance
on the periodic statement as an easier method for you to calculate the finance
charge. The finance charge begins lo accrue on (he dale advances and other debits
are posted to your account and will continue until the balance has been paid in full,
To compute the finance charge, multiply the Average Dally Balance times the Days in
Period times the Daily Periodic Rate (as listed in the Account Summary section on
the front of the statement), The Average Daily Balance is calculated by adding the
balance for each day of the billing cycla, then dividing the total balance by the number
of Days in the Billing Cycle, The dally balance is the balance for the day after
advances have been added and payments or credits have been subtracted plus or
minus any other adjustments that might have occurred thal day. There is no grace
Period during which no finance charge accrues. Finance charge adjustments are
included in your lolal finance charge.
Case 6:20-bk-03355-KSJ Doc 466

Bank

America’s Most Convenient Bank®

   

MARINA TOWERS LLC
DIP CASE 20-03359 MFLO

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STATEMENT OF ACCOUNT

Page:

Statement Period:

3 of 5

Jul 01 2021-Jul 31 2021

 

 

 

 

 

Cust Ref #: ™

Primary Account #: 9133
DAILY ACCOUNT ACTIVITY
Checks Paid (continued) “Indicates break in serial sequence or check processed electronically and listed under Electronic Payments
DATE SERIAL NQ, AMOUNT DATE SERIAL NO, AWOUNT
07/28 4041 385.00 07/27 4045 66.70
07/22 4042 402.64 07/26 4046 225.00
07/29 4043 2,020.00 07/23 4047 5,335.84
07/30 4044 1,179.07 07/27 4048 1,374.02

Subtotal: 25,990.88
Electronic Payments
POSTING DATE DESCRIPTION AMOUNT
07/01 eTransfer Debit, Online Xfer 16,000.00
Transfer to CK 4369008854
07/07 eTransfer Debit, Online Xfer 7,500.00
Transfer to CK 4369008854
07/19 ELECTRONIC PMT-WEB, FPL DIRECT DEBIT ELEC PYMT ****206193 WEBI 9,902.46
07/19 ELECTRONIC PMT-WEB, FPL DIRECT DEBIT ELEC PYMT ****817529 WEBI 78.54
Subtotal: 33,481.00

DAILY BALANCE SUMMARY
DATE BALANCE DATE BALANCE
06/30 24,128.32 07/21 888.23
07/01 14,341.47 07/22 10,985.59
07/02 8,750.77 07/23 5,649.75
07/06 7,616.07 07/26 21,517.19
07/07 116.07 07/27 20,076.47
07/08 7,116.07 07/28 19,691.47
07/09 483.19 07/29 17,671.47
07/15 11,483.19 07/30 16,492.40
07/19 1,277.19

Call 1-800-937-2000 for 24-hour Bank- by-Phone services or connect to www. tdbank, com

 

Bank Deposits FOIC Insured | TO Bank, NA, | Equal Housing Lender ery
Case 6:20-bk-03355-KSJ Doc 466 Filed 10/29/21 Page 12 of 30

Bank

America’s Most Convenient Bank®

 

MARINA TOWERS LLC
DIP CASE 20-03359 MFLO

 

 

 

 

 

STATEMENT OF ACCOUNT

Page: 4o0f5
Jul 01 2021-Jul 31 2021

Statement Period:
Cust Ref #:
Primary Account #:

EH
9133

 

 

 

 

 

 

 

 

Beso, ea, FL aaY

Bareaee ‘Wfoutield Insurance Payment Processing

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Wealfigid Insurance Payment Proceselng
P, Gy, Box 8201668
Loulevitle, KY 40260-4660

 

MEMO go7000B4dt

 

 

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WOOLOILM GOB7OKLO2e. 43690098430" : WOOLOSE" NOB7OILG22 VIGIOOUS Ie ¥gog00 5590 704
#4034 07/01 $1,030.37 #4036 07/02 $5,590.70
4037 | 4038
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GRol Metboume, LLC.

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Poirye Pump Service, Ino.
644 Laurel Orlve:

Omond Booch, FL 32174 We CodsoMee |

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#4040 07/19 $225.00

 

 

 

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P.O, Box 464
Carol Glream, IL 60107-4048

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PAYTOTHE — Jchnon Controtu Fire Pralaclon LP 364.479. |
ONDE OF, $ 1,179.07

 

 

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Case 6:20-bk-03355-KSJ Doc 466 Filed 10/29/21 Page 13 of 30

Bank

America’s Most Convenient Bank®

 

MARINA TOWERS LLC
DIP CASE 20-03359 MFLO

 

 

 

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Melbourne, FL 32835

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STATEMENT OF ACCOUNT

Page: 5 of 5
Statement Period: Jul 01 2021-Jul 31 2021
Cust Ref #: "re
Primary Account #: 9133

 

 

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Case 6:20-bk-03355-KSJ Doc 466 Filed 10/29/21 Page 14 of 30

Marina Towers, LLC

Reconciliation Summary
1009 - TD Bank Operating, Period Ending 07/31/2021

 

 

 

Jul 31, 24
Beginning Balance 24,128.32
Cleared Transactions ,
Checks and Payments - 18 items -59,471.88
Deposits and Credits - 5 items 51,835.96
Total Cleared Transactions -7,635.92
Cleared Balance 16,492.40
Uncleared Transactions
Checks and Payments - 2 items -6,161.03
Total Uncleared Transactions -6,161 .03
Register Balance as of 07/31/2021 10,331.37
Ending Balance 10,331.37

Page 1
2:27 PM
08/02/21

Case 6:20-bk-03355-KSJ Doc 466 Filed 10/29/21 Page 15 of 30

Reconciliation Detail

Marina Towers, LLC

1009 - TD Bank Operating, Period Ending 07/31/2021

 

Type Date Num Name Clr
Beginning Balance
Cleared Transactions

Checks and Payments - 18 items
Bill Pmt -Check 06/25/2021 4036 IPFS Corporation x
Bill Pmt -Check 06/25/2021 4037 Westfield Insurance ... xX
Bill Pmt -Check 06/25/2021 4034 City of Melbourne - ... Xx
Check 07/01/2021 FCHS... First Choice Healthc... Xx
Check 07/07/2021 FCHS... First Choice Healthc... X
Bill Pmt -Check 07/09/2021 4038 CR of Melbourne, LL... Xx
Bill Pmt -Check 07/15/2021 FPLO7.... FPL - Florida Power ... xX
Bill Pmt -Check 07/15/2021 4042 Waste Management... X
Bill Pmt -Check 07/15/2021 4039 NALCO Company X
Bill Pmt -Check 07/15/2021 4041 Plan It Lawn and La... xX
Bill Pmt -Check 07/15/2021 4040 Perry's Pump Servic... Xx
Bill Pmt -Check 07/15/2021 FPLO7... FPL - Florida Power ... X
Bill Pmt -Check 07/23/2021 4044 CR of Melbourne, LL... Xx
Bill Pmt -Check 07/23/2021 4048 MARRS Air Conditio... xX
Bill Pmt -Check 07/23/2021 4043 City of Melbourne - ... x
Bill Pmt -Check 07/23/2021 4047 Johnson Controls X
Bill Pmt -Check 07/23/2021 4045 Dept of Business&P... X
Bill Pmt -Check 07/23/2021 4046 Eau Gallie Ace Hard... xX

Total Checks and Payments

Deposits and Credits - 5 items
Payment 07/01/2021 15765 540 Smith & Associ... x
Deposit 07/08/2021 xX
Deposit 07/15/2021 xX
Deposit 07/22/2021 X
Payment 07/26/2021 17007 240 Clear Choice H... xX

Total Deposits and Credits
Total Cleared Transactions
Cleared Balance

Uncleared Transactions

Checks and Payments - 2 items

Bill Pmt -Check
Bill Pmt -Check

07/29/2021
07/29/2021

Total Checks and Payments

Total Uncleared Transactions
Register Balance as of 07/31/2021

Ending Balance

4049
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IPFS Corporation
Westfield Insurance ...

 

 

_ Amount Balance
24,128.32
-5,590.70 -5,590.70
-1,134.70 -6,725.40
-1,030.37 -7,755.77
-16,000.00 -23,755.77
-7,500.00 -31,255.77
-6,632.88 -37,888.65
-9,902.46 -47,791.11
-402.64 -48,193.75
-388.96 -48,582.71
-385.00 -48,967.71
-225.00 -49,192.71
-78.54 -49,271.25
-5,335.84 -54,607.09
-2,020.00 -56,627.09
-1,374.02 -58,001.11
-1,179.07 -59,180.18
-225.00 -59,405.18
-66.70 -59,471.88
-59,471.88 -59,471.88
7,243.52 7,243.52
7,000.00 14,243.52
11,000.00 25,243.52
10,500.00 35,743.52
16,092.44 51,835.96
51,835.96 51 1835.96
_ -7 635.92 -7,635.92
-7,635.92 16,492.40
-5,590.70 -5,590.70
570.33 -6,161.03
-6,161.03 6,161.03
-6,161.03 -6,161.03
_ -13,796.95 10,331.37
10,331.37

13,796.95

 

Page 1
Case 6:20-bk-03355-KSJ Doc 466 Filed 10/29/21 Page 16 of 30

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America’s Most Convenient Bank® E STATEMENT OF ACCOUNT
MARINA TOWERS LLC Page: 1 of 4
DIP CASE 20-03359 MFLO Statement Period: Aug 01 2021-Aug 31 2021
709 SOUTH HARBOR CITY BLVD SUITE 530 Cust Ref #: <hmiiaissaae.“*
MELBOURNE FL 32901 Primary Account #: GBs 133

eich erp 0 2 2021
RECEIVED SEP 0 2 202
Overdraft Policy Change Effective August 6, 2021
The following change applies only to Commercial and Small Business Checking Accounts and Money Market Accounts with

check access: TD is making changes to reduce Customer overdraft fees: Instead of charging an overdraft fee if you overdraw
your account by greater than $5, you may now overdraw your account by up to $10 without TD charging you an overdraft fee.

Overdraft fees apply to a maximum of five (5) items per day per account and this will remain unchanged. For Business Checking
accounts on Account Analysis Billing, all overdrafts, regardless of volume, are billed through Account Analysis. Please contact
your Treasury Management Officer for further details.

Chapter 11 Checking

MARINA TOWERS LLC Account # @aaa@9 133
DIP CASE 20-03359 MFLO

 

 

 

 

 

 

ACCOUNT SUMMARY
Beginning Balance 16,492.40 Average Collected Balance 7,020.44
Deposits 23,335.96 Interest Earned This Period 0.00
Electronic Deposits 16,500.00 Interest Paid Year-to-Date 0.00
Annual Percentage Yield Earned 0.00%
Checks Paid 15,542.85 Days in Period 31
Electronic Payments 21,176.18
Ending Balance 19,609.33 {
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{

DAILY ACCOUNT ACTIVITY
Deposits
POSTING DATE DESCRIPTION AWOUNT
08/03 DEPOSIT 7,243,52
08/31 DEPOSIT 16,092.44

Subtotal: 23,335.96
Electronic Deposits
POSTING DATE DESCRIPTION AMOUNT
08/13 eTransfer Credit, Online Xfer 7,500.00

Transfer from CK 4369008854
08/27 eTransfer Credit, Online Xfer 9,000.00
Transfer from CK 4369008854

Subtotal: 16,500.00
Checks Paid No, Checks: 6 “Indicates break in serial sequence or check processed electronically and listed under Electronic Payments
DATE SERIAL NO. AMOUNT DATE SERIAL NO. AMOUNT
08/04 4049 5,590.70 08/31 4053* 1,425.23
08/06 4050 570.33 08/31 4059* 150.00
08/13 4051 3,718.48 08/31 4062* 4,088.11

Subtotal: 15,542.85

Cail 4-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.idbank.com

Bank Deposlts FDIC Insured | TD Bank, NLA, | Equal Housing Lender {Ry

 
Case 6:20-bk-03355-KSJ Doc 466 Filed 10/29/21

How to Balance your Account

Page 17 of 30

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Page: 2 of 4
Begin by adjusting your account register 1, Your ending balance shown on this ®
as follows: statement is: 2 ints
Ending 49,609.33
Subtract any services charges shown ; Balance
on this statement. 2. List below the amount of deposits or ps
. credit transfers which do not appear f '
Subtract any uote baymens, on this statement. Total the deposits Total +
transfers or other electronic with- and enter on Line 2. Deposits ioe paca ts
drawals not previously recorded.
Add any interest earned if you have 3, Subtotal by adding lines 1 and 2. a
an interest-bearing account.
. . 4. List below the total amount of Sub Total
Add any automatic deposit or 4.
overdraft line of credit withdrawals that do not appear on
this statement. Total the withdrawals ee

Review all withdrawals shown on this and enter on Line 4.
statement and check them off in your
account register, 5, Subtract Line 4 from 3, This adjusted
Follow instructions 2-5 to verify your balance should equal your account
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Tee Deposits a Withdrawals 8

 

 

 

 

 

 

 

 

 

FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR
QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:

{f you need information about an electronic fund transfer or if you believe there is an
error on your bank slatement or receipt relating to an eleclronic fund transfer,
telephone the bank Immediately at the phone number listed on the front of your
statement or write to:

TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,
Malne 04243-1377
We must hear from you no later than sixty (60) calendar days after we sent you the
first statement upon which the error or problem first appeared. When contacting the
Bank, please explain as clearly as you can why you believe there is an error or why
more information Is needed, Please Include:

* Your name and account number.

* Adescription of the error or transaction you are unsure about.

* The dollar amount and date of the suspected error.
When making a verbal Inquiry, the Bank may ask that you send us your complaint in
writing within ten (10) business days after the first lelephone call.

We will investigate your complaint and will correct any error promplly. if we take more
than ten (10) business days to do this, we will credit your account for the

amount you think Is in error, so that you have the use of the money during the time it
takes to complete our invesligation,

WTEREST NOTICE

Tolal interest crediled by lhe Bank to you thls year will be reported by the Bank to the
Internal Revenue Service and State tax authorilies. The amount to be reported will be
reported separately to you by the Bank.

 

FOR CONSUMER LOAN ACCOUNTS ONLY - BILLING RIGHTS
SUMMARY

In case of Errors or Queslions About Your Bill:

If you think your bill Is wrong, or if you need more information about a transactlon on
your bill, write us at P.O. Box 1377, Lewiston, Malne 04243-1377 as soon as
possible. We must hear from you no later (han sixty (60) days after we sent you the
FIRST bill on which the error or problem appeared, You can telephone us, but doing
80 will nol preserve your rights, In your later, give Us the follawing information:

+ Your name and account number.

* The dollar amount of the suspected error,

* Describe the error and explain, if you can, why you believe there is an error,

If you need more information, describe the item you are unsure about.

You do not have to pay any amount In questlon whlle we are Investigating, but you
are slill obligated to pay the parts of your bill (hat are not in queslion. While we
invesligate your question, we cannol report you as delinquent or take any aclion to
collect the amount you question.

FINANCE CHARGES: Allhough the Bank uses the Daily Balance method lo calculale
the finance charge on your Moneyline/Overdraft Protection account (Ihe term "ODP"
or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
on the periodic slatement as an easier method for you to calculate the finance
charge. The finance charge begins to accrue on the dale advances and other deblts
are posted to your account and will continue until the balance has been paid in full.
To compule the finance charge, multiply he Average Daily Balance times the Days In
Period times the Daily Periodic Rate (as listed in the Account Summary seclion on
the front of the statement). The Average Daily Balance Is calculated by adding the
balance for each day of the billing cycle, then dividing the total balance by the number
of Days in the Billing Cycle. The daily balance Is (he balance for the day after
advances have been added and paymenls or credits have been subtracted plus or
minus any other adjustments that mighl have occurred that day. There is no grace
period during which no finance charge accrues. Finance charge adjuslments are
Included in your total flnance charge.
Case 6:20-bk-03355-KSJ Doc 466 Filed 10/29/21 Page 18 of 30

 

America’s Most Convenient Bank® STATEMENT OF ACCOUNT

MARINA TOWERS LLC

 

 

 

 

Page: 3 of 4
DIP CASE 20-03359 MFLO
IP CASE Statement Period: Aug 01 2021-Aug 31 2021

Cust Ref #: GG DSTSSHSe-£-***

Primary Account #: 9133
DAILY ACCOUNT ACTIVITY
Electronic Payments
POSTING DATE DESCRIPTION AMOUNT
08/02 eTransfer Debit, Online Xfer 5,000.00

Transfer to CK 4369008854
08/06 eTransfer Debit, Online Xfer 5,000.00
Transfer to CK 4369008854
08/18 ELECTRONIC PMT-WEB, FPL DIRECT DEBIT ELEC PYMT ****206193 WEBI 11,089.87
08/18 ELECTRONIC PMT-WEB, FPL DIRECT DEBIT ELEC PYMT ****817529 WEBI 86.31
Subtotal: 21,176.18

DAILY BALANCE SUMMARY
DATE BALANCE DATE BALANCE
07/31 16,492.40 08/13 11,356.41
08/02 11,492.40 08/18 180.23
08/03 18,735.92 08/27 9,180.23
08/04 13,145.22 08/31 19,609.33

08/06 7,574.89

Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect te www.tdbank.com

Bank Deposits FDIC Insured | TD Bank, N.A, | Equal Housing Lender {Sy

 
Case 6:20-bk-03355-KSJ Doc 466 Filed 10/29/21 Page 19 of 30

Bank

America’s Most Convenient Bank®

 

MARINA TOWERS LLC
DIP CASE 20-03359 MFLO

 

 

 

 

 

 

 

 

 

 

 

 

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STATEMENT OF ACCOUNT

Page: 4 of 4
Aug 01 2021-Aug 31 2021

Statement Period:
Cust Ref #:
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Melbourne, FL 32002-0017

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Melbourne, PL 32001-4179

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Case 6:20-bk-03355-KSJ Doc 466 Filed 10/29/21 Page 20 of 30

Marina Towers, LLC

Reconciliation Summary
1009 - TD Bank Operating, Period Ending 08/31/2021

Beginning Balance
Cleared Transactions

Checks and Payments - 10 items
Deposits and Credits - 5 items

Total Cleared Transactions
Cleared Balance

Uncleared Transactions

Checks and Payments - 9 items

Total Uncleared Transactions

Register Balance as of 08/31/2021

New Transactions

Checks and Payments - 1 item

Total New Transactions

Ending Balance

 

 

 

 

Aug 31, 21
16,492.40
-36,719.03 ‘
39,835.96
3,116.93
19,609.33
13,330.71
-13,330.71
6,278.62
338,484.66
338,484.66
-332,206.04

 

Page 1
Case 6:20-bk-03355-KSJ Doc 466 Filed 10/29/21 Page 21 of 30

Marina Towers, LLC
Reconciliation Detail

8:54 AM

09/02/21

1009 - TD Bank Operating, Period Ending 08/31/2021

 

 

 

 

 

 

 

Type Date Num Name ; Cir Amount Balance
Beginning Balance 16,492.40
Cleared Transactions
Checks and Payments - 10 items
Bill Pmt -Check 07/29/2021 4049 IPFS Corporation X -5,590.70 -5,590.70
Bill Pmt -Check 07/29/2021 4050 Westfield Insurance ... x -570.33 -6,161.03
Check 08/02/2021 FCHS... —_ First Choice Healthc... x -§,000.00 ~11,161.03
Check 08/06/2021 FCHS... First Choice Healthc... Xx -5,000.00 -16,1641.03
Bill Pmt -Check 08/13/2021 4051 CR of Melbourne, LL... xX -3,718.48 -19,879.51
Bill Pmt -Check 08/16/2021 FPLO8... FPL - Florida Power ... 4 -11,089.87 -30,969.38
Bill Pmt -Check 08/16/2021 FPLO8... FPL - Florida Power ... X -86.31 -31,055.69
Bill Pmt -Check 08/23/2021 4053 City of Melbourne - ... X 1,425.23 -32,480.92
Bill Pmt -Check 08/23/2021 4059 City of Melbourne - ... xX -150.00 -32,630.92
Bill Pmt -Check 08/31/2021 4062 CR of Melbourne, LL... xX —_ -4,088.11 736,719.03
Total Checks and Payments -36,719.03 -36,719,03
Deposits and Credits - 5 items
Payment 08/03/2021 15788 540 Smith & Associ... xX 7,243.52 7,243.52
Deposit 08/13/2021 x 7,500.00 14,743.52
Bill Pmt -Check 08/23/2021 4052 City of Melbourne - ... x 0.00 14,743.52
Deposit 08/27/2021 x 9,000.00 23,743.52
Payment 08/31/2021 17152 240 Clear Choice H... a 16,092.44 ___ 39,835.96
Total Deposits and Credits 39,835.96 39,835.96
Total Cleared Transactions 3,116.93 3,116.93
Cleared Balance 3,116.93 19,609.33
Uncleared Transactions
Checks and Payments - 9 items
Bill Pmt -Check 08/23/2021 4054 IPFS Corporation ~5,590.70 -5,590.70
Bill Pmt -Check 08/23/2021 4057 Westfield Insurance ... -570.33 -6,161.03
Bill Pmt -Check 08/23/2021 4058 NALCO Company -388.96 -6,549.99
Bill Pmt -Check 08/23/2021 4055 Plan tt Lawn and La... -385.00 -6,934.99
Bill Pmt -Check 08/23/2021 4056 Waste Management... -383.46 -7,318.45
Bill Pmt -Check 08/31/2021 4064 Kone, Inc. -4,299.15 ~11,617.60
Bill Pmt -Check 08/31/2021 4063 Johnson Controls -1,179.07 -12,796.67
Check 08/31/2021 4060 Home Depot (Towers) -287.05 -13,083.72
Check 08/31/2021 4061 MAI Design Build -246.99 -13,330.71
Total Checks and Payments -13,330.71 -13,330.71
Total Uncleared Transactions _ -13,330.71 -13,330.71
Register Balance as of 08/31/2021 -10,213.78 6,278.62
New Transactions
Checks and Payments - 1 item
Bill Pmt -Check 09/01/2021 4065 GMR Melbourne, LLC. -338 484.66 -338,484.66
Total Checks and Payments -338,484.66 -338 484.66
Total New Transactions _ -338,484.66 -338, 484.66
Ending Balance -348,698.44

-332,206.04

 
Case 6:20-bk-03355-KSJ Doc 466 Filed 10/29/21 Page 22 of 30
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Bank |
America’s Most Convenient Bank® E STATEMENT OF ACCOUNT
MARINA TOWERS LLC Page: 4 of 6
DIP CASE 20-03359 MFLO Statement Period: Sep 01 2021-Sep 30 2021
709 SOUTH HARBOR CITY BLVD SUITE 530 Cust Ref #: aR Tsoeee-
MELBOURNE FL 32901 Primary Account #: RR 133

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Overdraft Policy Change Effective August 6, 2024 ociMED oct 4 202

The following change applies only to Commercial and Small Business acceler. and Money Market Accounts with
check access: TD is making changes to reduce Customer overdraft fees: Instead of charging an overdraft fee if you overdraw
your account by greater than $5, you may now overdraw your account by up to $10 without TD charging you an overdraft fee.

Overdraft fees apply to a maximum of five (5) items per day per account and this will remain unchanged. For Business Checking
accounts on Account Analysis Billing, all overdrafts, regardless of volume, are billed through Account Analysis. Please contact
your Treasury Management Officer for further details.

Chapter 11 Checking

MARINA TOWERS LLC Account #<iamimmBO 1 33
DIP CASE 20-03359 MFLO

 

 

 

 

 

 

 

 

 

 

 

 

ACCOUNT SUMMARY
Beginning Balance 19,609.33 Average Collected Balance 11,864.91
Deposits 30,579.48 Interest Earned This Period 0.00
Electronic Deposits 461,500.00 Interest Paid Year-to-Date 0.00
Other Credits 338,519.66 Annual Percentage Yield Earned 0.00%
Days in Period 30
Checks Paid 358,057.08
Electronic Payments 12,100.25
Other Withdrawals 438,614.66
Ending Balance 41,436.48 Lox EA
Total for this Period Total Year-to-Date

Total Overdraft Fees $0.00 $0.00

Total Returned Item Fees (NSF) $35.00 $35.00
DAILY ACCOUNT ACTIVITY
Deposits
POSTING DATE DESCRIPTION AMOUNT
09/03 DEPOSIT 7,243.52
09/28 DEPOSIT 16,092.44
09/30 DEPOSIT 7,243.52

Subtotal: 30,579.48

Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com

 

Rank Deposits FDIC Insured | TD Bank, NLA, | Equal Housing Lender (Sy
Case 6:20-bk-03355-KSJ Doc 466 Filed 10/29/21

How to Balance your Account

Page 23 of 30

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Page: 2 of 6
Begin by adjusting your account register; Your ending balance shown on this @
as follows: is: . .
statement is: Ending 44,436:48
Subtract any services charges shown . _ Balance serial
on this statement. 2. List below the amount of deposits or colggntedt aay J
; credit transfers which do not appear
Subtract any automatic aati on this statement, Total the deposits Total +
transfers or other electronic with- and enter on Line 2. . Deposits
drawals not previously recorded. a
Add any interest earned if you have 3. Subtotal by adding lines | and 2. 6 :
an interest-bearing account. :
. 4, List below the total amount of Sub Total, tty
Add any automatic deposit or :
overdraft line of credit withdrawals that do not appear on
, this statement. Total the withdrawals as
Review all withdrawals shown on this and enter on Line 4, ®. Total -
statement and check them off in your Withdrawals :
account register. 5. Subtract Line 4 from 3. This adjusted
Follow instructions 2-5 to verify your balance should equal your account '@ :
ending account balance. balance. “Adjusted
Balance ee!
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DEPOSITS NOT DOLLARS | CENTS WITHDRAWALS NOT| DOLLARS | CENTS WITHDRAWALS NOT] ROLLA | CENTS
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Total Deposits} - 6 “Withdrawals e

 

 

 

 

 

 

FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR
QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:

If you need information aboul an electronic fund transfer or if you believe there is an
error on your bank slatement or receipl relating to an electronic fund transfer,
telephone the bank immediately at the phone number listed on the front of your
stalement or wrile to:

TD Bank, N.A., Deposit Operations Dept, P.O, Box 1377, Lewlston,
Malne 04243-1377
We must hear from you no later than sixty (60) calendar days after we sent you the
first statement upon which the error or problem first appeared, When contacting the
Bank, please explain as clearly as you can why you believe there is an error or why
more information is needed. Please Include:

» Your name and account number,

+ Adescription of the error or \ransaction you are unsure about.

» The dollar amounl and date of lhe suspected error.
When making a verbal Inquiry, the Bank may ask that you send us your complaint in
wriling within ten (10) business days after the first lelephone call.

We will investigate your complaint and will correct any error promplly. If we take more
than ten (10) business days to do this, we will credit your account for the

amount you think Is In error, so that you have the use of the money during the time it
takes to complete our investigalion,

INTEREST NOTICE

Total inlerest credited by the Bank to you this year will be reported by the Bank lo the
Internal Revenue Service and State tax authorllies, The amount lo be reported will be
Teported separately to you by the Bank.

FOR CONSUMER LOAN ACCOUNTS ONLY ~—- BILLING RIGHTS
SUMMARY

In case of Errors or Questions About Your Bill:

lf you think your bill Is wrong, or If you need more information about a transaction on
your dill, write us at P.O. Box 1377, Lewlston, Maine 04243-1377 as soon as
possible. We musl hear from you no laler than sixty (60) days afler we sent you (he
FIRST bill on which the error or problem appeared, You can telephone us, bul doing
so will not preserve your righls, In your letter, glve us the following Information:

«Your name and account number.

« The dollar amount of the suspected error.

+ Describe the error and explain, if you can, why you believe there is an error.

IF you need more information, describe the item you are unsure about,

You do not have to pay any amount In question whlle we are investigaling, but you
are still obligated to pay the parts of your bill that are not in question. While we
investigate your question, we cannot report you as delinquent or take any action to
collect (he amount you question.

FINANCE CHARGES: Allhough the Bank uses the Daily Balance method to calculate
the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
on (he periodic slatement as an easier method for you to calculate lhe finance
charge. The flnance charge begins to accrue on the date advances and other debits
are posled to your accounl and will continue until the balance has been paid in full.
To compute {he finance charge, mulliply the Average Daily Balance limes the Days in
Period times the Daily Periodic Rate {as listed in the Account Summary seclion on
the front of the statement), The Average Daily Balance Is calculated by adding the
balance for each day of the billing cycle, then dividing the tolal balance by the number
of Days in the Billing Cycle. The daily balance is the balance for the day after
advances have been added and payments or credits have been subtracted plus or
minus any other adjustments that might have occurred that day. There is no grace
period during which no finance charge accrues. Finance charge adjustments are
included In your total finance charge.
Case 6:20-bk-03355-KSJ Doc 466 Filed 10/29/21 Page 24 of 30

1D Bank

America’s Most Convenient Bank® STATEMENT OF ACCOUNT

MARINA TOWERS LLC

 

 

 

 

 

. Page: 3 of 6
DIP CASE 20-03359 MFLO Statement Period: Sep 01 2021-Sep 30 2021
Cust Ref #: ERGGRReORD ="
Primary Account #: GS 133
DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTING DATE DESCRIPTION AMOUNT
09/07 eTransfer Credit, Online Xfer 87,000.00
Transfer from CK 4369008854
09/14 eTransfer Credit, Online Xfer 350,000.00
Transfer from CK 4369008854
09/14 eTransfer Credit, Online Xfer 7,000.00
Transfer from CK 4369008854
09/24 eTransfer Credit, Online Xfer 17,500.00
Transfer from CK 4369008854
Subtotal: 461,500.00
Other Credits
POSTING DATE DESCRIPTION AMOUNT
09/14 RETURNED ITEM 338,484.66
09/17 NSF CHARGE REVERSAL 35.00
Subtotal: 338,519.66
Checks Paid No. Checks: 15 “Indicates break in serial sequence or check processed electronically and Ilsted under Electronic Payments
DATE SERIAL NO. AMOUNT DATE SERIAL NO. AMOUNT
09/01 4054 5,590.70 09/21 4066 3,362.48
09/15 4055 385.00 09/23 4067 166.80
09/01 4056 383.46 09/27 4068 1,179.07
09/03 4057 570.33 09/22 4070* 225.00
09/02 4058 388,96 09/27 4072* 393.05
09/13 4063* 1,179.07 09/24 4073 388,96
09/08 4064 4,299.15 09/29 4074 1,060.39
09/13 4065 338,484.66
Subtotal: 358,057.08
Electronic Payments
POSTING DATE DESCRIPTION AMOUNT
09/16 ELECTRONIC PMT-WEB, FPL DIRECT DEBIT ELEC PYMT ****206193 WEBI 12,013.96
09/16 ELECTRONIC PMT-WEB, FPL DIRECT DEBIT ELEC PYMT ****817529 WEBI 86.29
Subtotal: 12,100.25

Call 1-800-937-2600 for 24-hour Bank-by-Phone services or connect to www.tdbank.com

 

 

Bank Deposlts FDIC Insured | TO Bank, NLA, | Equal Housing Lendo! vey
Case 6:20-bk-03355-KSJ Doc 466

a) Bank

Filed 10/29/21 Page 25 of 30

 

 

 

 

America’s Most Convenient Bank® STATEMENT OF ACCOUNT
MARINA TOWERS LLC Page: 4of6
: - oO :
DIP CASE 20-03359 MPL Statement Period: Sep 01 2021-Sep 30 2021
Cust Ref #: E~***
Primary Account #: 9133
DAILY AGCOUNT ACTIVITY
Other Withdrawals
POSTING DATE DESCRIPTION AMOUNT
09/07 WIRE TRANSFER OUTGOING, Global Medical REIT LP 100,000.00
09/07 WIRE TRANSFER FEE 30.00
09/14 OVERDRAFT RET 35,00
09/15 WIRE TRANSFER OUTGOING, Global Medical Reit Lp 338,519.66
09/15 WIRE TRANSFER FEE 30.00
Subtotal: 438,614.66
DAILY BALANCE SUMMARY
DATE BALANCE DATE BALANCE
08/31 19,609.33 09/17 7,376.27
09/01 13,635.17 09/21 4,013.79
09/02 13,246.21 09/22 3,788.79
09/03 19,919.40 09/23 3,621.99
09/07 6,889.40 09/24 20,733.03
09/08 2,590.25 09/27 19,160.91
09/13 -337,073.48 09/28 35,253.35
09/14 358,376.18 09/29 34,192.96
09/15 19,441.52 09/30 41,436.48
09/16 7,341.27

Call 1-800-937-2000 for 24-hour Bank-by-Phone services oar connect to www.tdbank.com

 

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Case 6:20-bk-03355-KSJ

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| Bank

America’s Most Convenient Bank®

MARINA TOWERS LLC
DIP CASE 20-03359 MFLO

Doc 466

Filed 10/29/21 Page 26 of 30

STATEMENT OF ACCOUNT

Page: 5 of 6
Statement Period: Sep 01 2021-Sep 30 2021
Cust Ref #: ’ E-***

Primary Account #: G91 33

 

 

 

 

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Case 6:20-bk-03355-KSJ Doc 466 Filed 10/29/21 Page 27 of 30

Bank

America’s Most Convenient Bank®

 

MARINA TOWERS LLC
DIP CASE 20-03359 MFLO

 

 

 

 

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#4068 09/27 $1,179.07

 

 

STATEMENT OF ACCOUNT

Page: 6 of 6
Statement Period: Sep 01 2021-Sep 30 2021
Cust Ref #: esnmnna oaGss-F-***
Primary Account #: GB 133

 

 

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Marina Towers, LLC

Reconciliation Summary
1009 - TD Bank Operating, Period Ending 09/30/2021

 

 

— 2 Sep 30, 21
Beginning Balance 19,609.33
Cleared Transactions
Checks and Payments - 23 items -470,287.33
Deposits and Credits - 17 items ; 492,114.48
Total Cleared Transactions 21,827.15
Cleared Balance 41,436.48
Uncleared Transactions
Checks and Payments - 8 items -18,624.40
Total Uncleared Transactions -18,624.40
Register Balance as of 09/30/2021 22,812.08
Ending Balance 22,812.08

Page 1
12:06 PM
10/04/21

Case 6:20-bk-03355-KSJ Doc 466 Filed 10/29/21 Page 29 of 30

Type
Beginning Balance

Marina Towers, LLC
Reconciliation Detail

1009 - TD Bank Operating, Period Ending 09/30/2021

Date

Cleared Transactions
Checks and Payments - 23 items

Bill Pmt -Check
Bill Pmt -Check
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Deposits and Credits - 17 items

Bill Pmt -Check
Bill Pmt -Check
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Deposit
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Bill Pmt -Check
General Journal
Deposit
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Total Deposits and Credits

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09/30/2021

Total Cleared Transactions

Cleared Balance

Uncleared Transactions
Checks and Payments - 8 items

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08/31/2021
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Name

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Kone, Inc,

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GMR Melbourne, LLC.
GMR Melbourne, LLC.
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TD Bank

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GMR Melbourne, LLC.

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GMR Melbourne, LLC.
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Page 1
Case 6:20-bk-03355-KSJ Doc 466 Filed 10/29/21 Page 30 of 30

 

 

 

 

 

 

 

12:06 PM Marina Towers, LLC
40/04/21 Reconciliation Detail
1009 - TD Bank Operating, Period Ending 09/30/2021
Type Date Num Name Cir Amount Balance
Bill Pmt -Check 09/30/2021 4078 Kone, Inc. a -4,473.27 -15,399.40
Bill Pmt -Check 09/30/2021 4079 MARRS Air Conditio... a -3,225.00 -18,624.40
Total Checks and Payments -18,624.40 -18,624.40
Total Uncleared Transactions ~18,624.40 -18,624.40
Register Balance as of 09/30/2021 3,202.75 22,812.08
Ending Balance 3,202.75 22,812.08

 

Page 2
